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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. Nos. 1416 & 1466


                                    CERTIFICATION OF COUNSEL

         I, Kimberly A. Brown, counsel to FTX Trading and its affiliated debtors and debtors-in-

possession (the “Debtors”), hereby certify as follows to the best of my knowledge, information

and belief:

         1.       On May 3, 2023, the Debtors filed with the United States Bankruptcy Court for the

District of Delaware (the “Court”) the Motion of Debtors for Entry of an Order (I)(A) Establishing

Deadlines for Filing Non-Customer and Government Proofs of Claim and Proofs of Interest and

(B) Approving the Form and Manner of Notice Thereof and (II) Granting Related Relief [D.I.

1416] (the “Motion”) 2.

         2.       As of the date hereof, no formal objections or other responses to the Motion have

been filed or served on the Debtors. The Debtors received informal comments from the Office of

the United States Trustee (the “U.S. Trustee”) and the Official Committee of Unsecured Creditors

appointed in these chapter 11 cases (the “Committee”).




1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the Motion.


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         3.       To resolve the informal comments from the Committee, on May 9, 2023, the

Debtors filed the Notice of Revised Proposed Order [D.I. 1466], attaching a revised proposed form

of order (the “Revised Non-Customer Bar Date Order”), a revised Non-Customer Bar Date Notice

and revised Publication Notice (together with the Non-Customer Bar Date Notice, the “Revised

Notices”).

         4.       To resolve the informal comments received from the U.S. Trustee, the Debtors have

further revised the Non-Customer Bar Date Order (the “Second Revised Non-Customer Bar Date

Order”), a copy of which is attached hereto as Exhibit A. A copy of the Second Revised Non-

Customer Bar Date Order compared against the Revised Non-Customer Bar Date Order is attached

hereto as Exhibit B. The Debtors have also further revised the Notices (the “Second Revised

Notices”), copies of which are attached hereto as Exhibits C and E. Copies of the Second Revised

Notices compared against the Revised Notices are attached hereto as Exhibits D and F.

Additionally, the Debtors have revised the Proof of Claim Form and Proof of Interest Form filed

with the Motion (the “Revised Forms” and together with the Second Revised Non-Customer Bar

Date Order and the Second Revised Notices, as the “Revised Bar Date Documents”), copies of

which are attached hereto as Exhibits G and I respectively. Copies of the Revised Forms

compared against the Proof of Claim Form and Proof of Interest Form filed with the Motion are

attached hereto as Exhibits H and J respectively.

         5.       The Revised Bar Date Documents have been circulated to the U.S. Trustee and the

Committee. The U.S. Trustee and the Committee have no objection to the entry of the Second

Revised Non-Customer Bar Date Order.            In accordance with the Court’s electronic order

processing procedures, a clean copy of the Second Revised Non-Customer Bar Date Order shall

be uploaded to CM/ECF.



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         6.       Accordingly, the Debtors respectfully request that the Court enter the Second

Revised Non-Customer Bar Date Order at its earliest convenience.

Dated: May 18, 2023                              LANDIS RATH & COBB LLP
       Wilmington, Delaware
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                                                 Counsel for the Debtors and Debtors-in-Possession




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